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                                   DISTRICT JUDGE'S CIVIL MINUTES
                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA – PHOENIX
U.S. District Judge: Michael T. Liburdi                          Date: November 10, 2021
Case Number: CV-21-01568-PHX-MTL
Brnovich v. Biden et al

APPEARANCES: Plaintiff(s) Counsel                                Defendant(s) Counsel
             James Rogers                                        Joseph John DeMott
             John Wilenchik                                      Kevin Wynosky
             Brunn Wall Roysden, III

MOTION HEARING:

8:34 a.m. This is the time set for Motion Hearing on the Renewed Motion for a Temporary Restraining
Order and Preliminary Injunction, (Doc. 34). Argument heard. 9:33 a.m. Court stands at recess.

9:48 a.m. Court reconvenes. Oral argument continues. Defendants are directed to file a copy of the
OMB Director’s submission to the Federal Register regarding the revised Safer Federal Workforce
Task Force guidance as soon as practical.

IT IS ORDERED that Plaintiffs are granted leave to file an amended complaint and renewed motion
for preliminary relief considering the new development that Defendants brought to the Court’s
attention in this hearing.

11:28 a.m. Court stands at recess while Plaintiffs discuss a deadline for submission of amended
pleadings.

11:42 a.m. Court reconvenes. By stipulation of the parties,

IT IS FURTHER ORDERED that Plaintiffs shall file their amended complaint and motion for
preliminary relief by Friday, November 19, 2021. Defendants shall file their response by no later than
5:00 p.m. EST, on Friday, December 3, 2021. Plaintiffs’ reply is due by Wednesday, December 8,
2021.

IT IS FURTHER ORDERED that Plaintiffs’ Renewed Motion for a Temporary Restraining Order
and Preliminary Injunction, (Doc. 34), is denied without prejudice to refiling as directed on the record.

Discussion held regarding Defendants’ answer to the forthcoming amended complaint. Defendants will
respond pursuant to the Local Rules.

11:49 a.m. Court adjourned.
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                                                                      2 hrs and 46 mins
Deputy Clerk: Rebekka Walder                                          Start: 8:34 AM
Court Reporter: Barbara Stockford                                     Stop: 11:49 AM
